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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA — ORLANDO DIVISION

CASE NO. 6:17-bk-05022-CCJ
CHAPTER 7

IN RE:

EARL EUGENE SPATCHER,

Debtor(s)
/

JPMORGAN CHASE BANK, NATIONAL ASSOCIATION’S
MOTION FOR RELIEF FROM THE AUTOMATIC STAY
7223 White Trillium Circle, Orlando, Florida 32818

 

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within 21 days from the date set forth on the
attached proof of service, plus an additional three days for service if any party was served by U.S, Mail.
If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
George C. Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, FL 32801, and
serve a copy on the movant’s attorney, Taji S, Foreman, Esq., at Kahane & Associates, P.A., 8201 Peters
Road, Ste 3000, Plantation, FL 33324, and any other appropriate persons within the time allowed. If you file
and serve a response within the time permitted, the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing,

If you do not file a response within the time permitted, the Court will consider that you do not oppose the
relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may

grant the relief requested.

COMES NOW, JPMorgan Chase Bank, National Association, its Successors and/or
Assigns (“Secured Creditor”), by and through its undersigned counsel, as and for its Motion for
Relief from the Automatic Stay, states as follows:

1. The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP
4001(a) and the various other applicable provisions of the United States Bankruptcy Code,

Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

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2. The Debtor listed above (the “Debtor”) filed a voluntary petition pursuant to
Chapter 13 of the Bankruptcy Code on July 28, 2017. An order converting case to a Chapter 7
was entered on April 10, 2019.

3. The Debtor obtained a loan in the amount of $149,470.00 which was evidenced by a
promissory note dated March 5, 2010 (the “Note”). See Exhibit “A” attached hereto.

4, As security for payment of the Note, the Debtor and non-filing Debtor, Nicole
Spatcher, executed a mortgage dated March 5, 2010 (the “Mortgage”), which granted Mortgage
Electronic Registration Systems, Inc. as nominee for Fidelity Funding Mortgage Corp., a first
mortgage lien on the real property located at located at 7223 White Trillium Circle, Orlando,

Florida 32818 (the “Property”), and legally described as:

LOT 32, ENCLAVE AT HIAWASSEE, ACCORDING TO THE PLAT THEREOF AS RECORDED
IN PLAT BOOK 67, PAGES 98, 99 AND 100 OF THE PUBLIC RECORDS OF ORANGE

COUNTY, FLORIDA

5. The Mortgage was recorded on March 15, 2010 in Official Records Book 10014, at
Page 6851 of the Public Records of Orange County, Florida. See Exhibit “B” attached hereto.

6. The Note possesses a blank endorsement and Secured Creditor is an entity entitled
to enforce the Note. Additionally, the Mortgage was assigned to Secured Creditor on January 8,
2013. See Exhibit “C” attached hereto,

7. The Debtor is indebted to Secured Creditor in the total amount of $128,391.31,
which includes the unpaid principal balance, plus any additional interest, advances, costs and
attorneys’ fees advanced by Secured Creditor, pursuant to the loan documents. Additionally, the
Debtor is contractually due for the October 1, 2017 payment.

8. Based on the Debtor’s Schedules, the Property has been claimed as exempt.

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9, In addition to Secured Creditor’s lien, the Property is also encumbered by a lien by
the US Department of HUD for $42,920.15, a lien by Portfolio Recovery Associates LLC for
$4,767.73, and a lien by Enclave at Hiawassee HOA for $9,501.61.

10. According to the Debtor’s Schedules, the estimated market value of the Property is
$161,414.00. Thus, there is no equity in the Property for the benefit of unsecured creditors of the
estate.

11. Secured Creditor’s security interest in the Property is being significantly jeopardized
by the Debtor’s failure to make regular payments under the Mortgage and Note while Secured
Creditor is prohibited from pursuing lawful remedies to protect such security interest.

12. Secured Creditor asserts that cause exists pursuant to 11 U.S.C. § 362(d)(1) and 11
U.S.C. § 362(d)(2) for the automatic stay to be lifted to allow Secured Creditor to pursue its in
rem remedies.

13. Secured Creditor respectfully requests the Court waives the fourteen (14) day stay
of the Order Granting Relief pursuant to Bankruptcy Rule 4001 (a)(3), so the Secured Creditor
can pursue its in rem remedies without further delay.

14, Secured Creditor moves the Court for an Order terminating the pending automatic
stay to allow Secured Creditor to send to any party or parties protected by the automatic stay any
and all notices required by applicable state and/or federal law or regulation. Secured Creditor
further moves the Court to terminate the automatic stay to allow Creditor to take such actions
with respect to the Property as are provided for under applicable non-bankruptcy law, including
but not limited to, informing Debtor of any loan modification, short sale, or other loss mitigation |

options.

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WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted
so that it may pursue in rem remedies to protect its security interests in the Debtors’ property
outside of the bankruptcy forum, that the fourteen (14) day stay of the Order Granting Relief

pursuant to Bankruptcy Rule 4001(a)(3) be waived, and that the Court grant such further relief as

the Court deems just, proper, and equitable.

DATED this _ gin __ day of May 2019.
Respectfully slomited,

Kahane & Associates, P.A.
8201 Peters Road, Syite 3000

  
  

Telephone: (99

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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

 
 
 

&,

filed and/or mailed to all parties listed below this

day of M a
2019.

Earl Eugene Spatcher
7223 White Trillium Cir
Orlando, Florida 32818

John T. Snow, Esq.
Attorney for Debtor(s)
390 North Orange Avenue
Orlando Florida 32801

Laurie K. Weatherford, Trustee
Post Office Box 3450
Winter Park, Florida 32790

U.S. Trustee

United States Trustee - ORL7/13, 7
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801

Respectfully Submitted,

Kahane & Associates, P.A.
8201 Peters Road, Suite 3000
Plantation, Flofida 33324
Telephonen (954) 382-34 /
Telefagsimil¢: ) 382-5880

 

 

r, Eéd., Fla. Bdr No.: 146870
_ Ahreng, Hsq.,\Fla. Bar No.: 352837
mM an, Esd., Fla. Bar No.: 58606

 

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~. NOTE
¥
SPATCHER
Loan #:
Case Hy
MARCH 5, 2010 ORLANDO FLORIDA
[Date] [City] [State]
97223 WHITE TRILLIUM CIRCLE, ORLANDO, FL 32818
[Property Address]
1. PARTIES

*’Borrower" means each person signing at the end of this Note, and the person's successors and assigns. "Lender means
PIDELITY FUNDING MORTGAGR CORP. and its successors and assigns.

2, BORROWER'S PROMISE TO PAY; INTEREST

In return for a loan received from Lender, Borrower promises to pay the principal sum of ONE HUNDRED FORTY NINE
THOUSAND FOUR HUNDRED SEVENTY Dollars (U.S, $149,470.00), plus interest, to the order of Lender. Interest will be
charged on unpaid principal, from the date of disbursement of the loan proceeds by Lender, at the rate of FOUR AND THREE-
FOURTHS percent (4.750%) per year until the full amount of principal has been paid.

3. PROMISE TO PAY SECURED
Borrower's promise to pay is secured by a mortgage, deed of trust or similar security instrument that is dated the same date as
this Note and called the "Security Instrument.” That Security Instrument protects the Lender from losses which might result if

Borrower defaults under this Note.

4, MANNER OF PAYMENT

(A) Time

Borrower shall make a payment of principal and interest to Lender on the first day of each month beginning on APRIL 1,
202.0. Any principal and interest remaining on the first day of MARCH, 2040, will be due on that date, which is called the "Maturity

Date.”

(8) Place
Payment shall be made at 150 CRANES ROOST BLVD., S-2250, ALTAMONTE SPRINGS, FL 32701 orat such
place as Lender may designate in writing by notice to Borrower.

(C) Amount

Bach monthly payment of principal and interest will be in the amount of U.S. $779.71. This amount will be part of a larger
monthly payment required by the Security Instrument, that shall be applied to principal, interest and other items in the order described
in the Security Instrument.

(D) ANlonge to this Note far payment adjustments
If an allonge providing for payment adjustments is executed by Borrower together with this Note, the covenants of the
allonge shall be incorporated into and shall amend and supplement the covenants of this Note as if the allonge were a part of this Note.

[Check applicable box.]
(] Graduated Payment Allonge (1 Growing Equity Allonge (3 Other [Specify]

5. BORROWER'S RIGHT TO PREPAY

Borrower has the right to pay the debt evidenced by this Note, in whole or in part, without charge or penalty, on the first day
of any month. Lender shall accept prepayment on other days provided that Borrower pays interest on the amount prepaid for the
remainder of the month to the extent required by Lender and permitted by regulations of the Secretary. If Borrower makes a partial

_ propayment, there will be no changes in the due date or in the amount of the monthly payment unless Lender agrees in writing to those

changes,

 

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6. BORROWER'S FAILURE TO PAY

(A) Late Charge for Overdue Payments

If Lender has not received the full monthly payment required by the Security Instrument, as described in Paragraph 4(C) of
this Note, by the end of fifteen calendar days after the payment is due, Lender may collect a late charge in the amount of FOUR
percent (4.000%) of the overdue amount of each payment.

(B) Default

If Borrower defaults by failing to pay in full any monthly payment, then Lender may, except as limited by regulations of the
Secretary in the case of payment defaults, require immediate payment in full of the principal balance remaining due and all accrued
interest. Lender may choose not to exercise this option without walving its rights in the event of any subsequent default. In many
circumstances regulations issued by the Secretary will limit Lender's rights to require immediate payment in full in the case of
payment defaults. This Note does not authorize acceleration when not permitted by HUD regulations. As used in this Note,
"Secretary" means the Secretary of Housing and Urban Development or his or her designee.

(C) Payment of Costs and Expenses

If Lender has required immediate payment in full, as described above, Lender may require Borrower to pay costs and
expenses including reasonable and customary attomeys' fees for enforcing thls Note to the extent not prohibited by applicable law.
Such fees and costs shall bear interest from the date of disbursement at the same rate as the principal of this Note.

7. WAIVERS

Borrower and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
"Presentment" means the right to require Lender to demand payment of amounts due. "Notice of dishonor" means the right to require
Lender to give notice to other persons that amounts due have not been paid, ,

8. GIVING OF NOTICES ©

Unless applicable law requires a different method, any notice that must be given to Borrower under this Note will be given by
delivering it or by mailing it by first class mail to Borrower at the property address above or at a different address if Borrower has
given Lender a notice of Borrower's different address.

Any notice that must be given to Lender under this Note will be given by first class mail to Lender at the address stated in
Paragraph 4{B) or at a different address if Borrower is given a notice of that different address.

9, OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in this
Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety or endorser
of this Note, is also obligated to keep all of the promises made in this Note. Lender may enforce its rights under this Note against each
person individually or against all signatories together. Any one person signing this Note may be required to pay all of the amounts
owed under this Note.

10. DOCUMENTARY TAX
The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness.

 

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BY SIGNING BE bh agrees to the terms and covenants contained in this Note.
f

- BORROWER - PARLESPATCHER - DATE/-

 

 

 

 

{Sign Original Only]

 

 

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me Allonge To Note
. by * 4

Description 7223 White Trillium Circle
Orlando, FL 32818

 

Maker: Earl E Spatcher
Co-Maker(s):

Note Amount $149,470.00

Note Date: 03/05/2010
Payee: Fidelity Funding Mortgage Corp.
Loan Number: fT

Pay To The Order Of:

JP Morgan Chase Bank, NA

Without Recourse

Name:

 

Nicole Mavero, AVP

Texas Capital Bank, N.A.
Attorney-In-Fact For:

Fidelity Funding Mortgage Corp.

 

 
 

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' " »
a . ' 5
After Recording Return To:
IDELITY FUNDING MORTGAGE :
CORP " DOCH 22100146318 B: 10014 P: 6851
150 CRANES ROOST BLVD., 93/15/2010 aap 88 AM Page 1 of 10
SUITE 2250 Bed Bos tax: $0.00

    
  
  
 

 

Intangible Tax: $298.94
fortgage Stamp: $523.25
Martha 0. Haynie, Comptroller

This document prepared by: Orange County, Eh osing AGENT INC

MELISSA WADE

FIDELITY FUNDING MORTGAGE

CORP.

150 CRANES ROOST BLVD.,

SUITH 2250

ALTAMONTE SPRINGS, PL OL

(888) 774-4410 aie
{Space Above This Line For Recording Data]

MORTGAGE

ALTAMONTE SPRINGS, FL 32701

  

 

SPATCHER

 

THIS MORTGAGE ("Security Instrument") is given on MARCH 5, 2010. The mortgagor is
EARL E SPATCHER, JOINED BY HIS SPOUSE NICOLE SPATCHER ("Borrower"). This Security
Instrument is given to Mortgage Electronic Registration Systems, Inc. (*MERS") (solely as nominee for
Lender, as hereinafter defined, and Lender's successors and assigns), as mortgagee. MERS is organized and
existing under the laws of Delaware, and has an address and telephone number of PO Box 2026, Flint, MI
48501-2026, tel. (888) 679-MERS. FIDELITY FUNDING MORTGAGE CORP. ("Lender") is organized
and existing under the laws of FL, and has an address of 150 CRANES ROOST BLVD., SUITE 2250,
ALTAMONTE SPRINGS, FL 32701. Borrower owes Lender the principal sum of ONE HUNDRED
FORTY NINE THOUSAND FOUR HUNDRED SEVENTY Dollars (U.S. $149,470.00). This debt is
evidenced by Borrower's note dated the same date as this Security Instrument ("Note"), which provides for
monthly payments, with the full debt, if not paid earlier, due and payable on MARCH 1, 2040. This
Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Note, with interest,
and all renewals, extensions and modifications of the Note; (b) the payment of all other sums, with interest,
advanced under paragraph 7 to protect the security of this Security Instrument; and (c) the performance of
Borrower's covenants and agreements under this Security Instrument and the Note. For this purpose,
Borrower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
successors and assigns) and ¢o the successors and assigns of MERS the following described property located
in ORANGE County, Florida:

LOT 32, ENCLAVE AT HIAWASSEE, ACCORDING TO THE PLAT THEREOF AS RECORDED
IN PLAT BOOK 67, PAGHS 98, 99 AND 100 OF THH PUBLIC RECORDS OF ORANGE
COUNTY, FLORIDA

which has the address of 7223 WHITE TRILLIUM CIRCLE, ORLANDO, Florida 32818 ("Property
Address");

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security
Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title to the
interests granted by Borrower in this Security Instrument; but, if necessary to comply with law or custom,
MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any or all of
those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any

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action required of Lender including, but not limited to, releasing or canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and
has the right to mortgage,grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest and Late Charge. Borrower shall pay when due the principal of,

and interest on, the debt evidenced by the Note and late charges due under the Note.

2. Monthly Payment of Taxes, Insurance, and Other Charges, Borrower shall include in each
monthly payment, together with the principal and interest as set forth in the Note and any fate charges, a sum
for (2) taxes and special assessments levied or to be levied against the Property, (b) leasehold payments or
ground rents on the Property, and (c) premiums for insurance required under Paragraph 4. In any year in
which the Lender must pay a mortgage insurance premium to the Secretary of Housing and Urban
Development ("Secretary"), or in any year in which such premium would have been required if Lender still
held the Security Instrument, each monthly payment shall also include either: (i) a sum for the annual
mortgage insurance premium to be paid by Lender to the Secretary, or (ii) a monthly charge instead of a
mortgage insurance premium if this Security Instrument is held by the Secretary, in a reasonable amount to
be determined by the Secretary. Except for the monthly charge by the Secretary, these items are called
"Escrow Items" and the sums paid to Lender are called “Escrow Funds."

Lender may, at any time, collect and held amounts for Escrow Items in an aggregate amount not to
exceed the maximum amount that may be required for Borrower's escrow account under the Real Estate
Settlement Procedures Act of 1974, 12 U.S.C. Section 2601 et seq. and implementing regulations, 24 CFR
Part 3500, as they may be amended from time to time ("RESPA"), except that the cushion or reserve
permitted by RESPA for unanticipated disbursements or disbursements before the Borrower's payments are
available in the account may not be based on amounts due for the mortgage insurance premium.

Lf the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by
RESPA, Lender shall account to Borrower for the excess funds as required by RESPA. [f the amounts of
funds held by Lender at any time are not sufficient to pay the Escrow Items when due, Lender may notify the
Borrower and require Borrower to make up the shortage as permitted by RESPA.

The Escrow Funds are pledged as additional security for all sums secured by this Security
Instrument. If Borrower tenders to Lender the full payment of all such sums, Borrower's account shall be
credited with the balance remaining for all installment items (a), (b), and (c) and any mortgage insurance
premium installment that Lender has not become obligated to pay to the Secretary, and Lender shall promptly
refund any excess funds to Borrower. Immediately prior to a foreclosure sale of the Property or its
acquisition by Lender, Borrower's account shall be credited with any balance remaining for all installments
for items (a), (b), and (c).

3. Application of Payments. All payments under Paragraphs | and 2 shall be applied by Lender as
follows:

First, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly charge by
the Secretary instead of the monthly mortgage insurance premium;

Second, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and other
hazard insurance premiums, as required;

Third, to interest due under the Note;

Fourth, to amortization of the principal of the Note; and

 

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Fifth, to late charges due under the Note.

4, Fire, Flood and Other Hazard Insurance. Borrower shall insure all improvements on the
Property, whether now in existence or subsequently erected, against any hazards, casualties, and
contingencies, including fire for which Lender requires insurance. This insurance shall be maintained in the
amounts and for the periods that Lender requires. Borrower shall also insure all improvements on the
Property, whether now in existence or subsequently erected, against loss by floods to the extent required by
the Secretary. All insurance shall be carried with companies approved by Lender. The insurance policies and
any renewals shall be held by Lender and shall include loss payable clauses in favor of, and in a form
acceptable to, Lender.

In the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof
of loss if not made promptly by Borrower. Each insurance company concerned is hereby authorized and
directed to make payment for such loss directly to Lender, instead of to Borrower and to Lender jointly. All
or any part of the insurance proceeds may be applied by Lender, at its option, either(a) to the reduction of the
indebtedness under the Note and this Security Instrument, first to any delinquent amounts applied in the order
in Paragraph 3, and then to prepayment of principal, or (b) to the restoration or repair of the damaged
Property. Any application of the proceeds to the principal shall not extend or postpone the due date of the
monthly payments which are referred to in Paragraph 2, or change the amount of such payments, Any excess
insurance proceeds over an amount required to pay all outstanding indebtedness under the Note and this
Security Instrument shall be paid to the entity legally entitled thereto.

In the event of foreclosure of this Security Instrument or other transfer of title to the Property that
extinguishes the indebtedness, all right, title and interest of Borrower in and to insurance policies in force
shall pass to the purchaser.

5, Occupancy, Preservation, Maintenance and Proteetion of the Property; Borrower's Loan
Application; Leaseholds. Borrower shall occupy, establish and use the Property as Borrower's principal
residence within sixty days after the execution of this Security Instrument (or within sixty days of a later sale
or transfer of the Property) and shall continue to occupy the Property as Borrower's principal residence for at
least one year after the date of occupancy, unless Lender determines that requirement will cause undue
hardship for Borrower, or unless extenuating circumstances exist which are beyond Borrower's control.
Borrower shall notify Lender of any extenuating circumstances. Borrower shall not commit waste or destroy,
damage or substantially change the Property or allow the Property to deteriorate, reasonable wear and tear
excepted. Lender may inspect the Property if the Property is vacant or abandoned or the loan is in default.
Lender may take reasonable action to protect and preserve such vacant or abandoned Property. Borrower
shall also be in default if Borrower, during the loan application process, gave materially false or inaccurate
information or statements to Lender (or failed to provide Lender with any material information) in
connection with the loan evidenced by the Note, including, but not limited to, representations concerning
Borrower's occupancy of the Property as a principal residence. If this Security Instrument is on a leasehold,
Borrower shall comply with the provision of the lease. If Borrower acquires fee title to the Property, the
leaschold and fee title shall not be merged unless Lender agrees to the merger in writing.

6. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in
connection with any condemnation or other taking of any part of the Property, or for conveyance in place of
condemnation, are hereby assigned and shall be paid to Lender to the extent of the full amount of the
indebtedness that remains unpaid under the Note and this Security Instrument. Lender shall apply such
proceeds to the reduction of the indebtedness under the Note and this Security Instrument, first to any
delinquent amounts applied in the order provided in Paragraph 3, and then to prepayment of principal. Any
application of the proceeds to the principal shall not extend or postpone the due date of the monthly
payments, which are referred to in Paragraph 2, or change the amount of such payments. Any excess
proceeds over an amount required to pay ail outstanding indebtedness under the Note and this Security
Instrument shall be paid to the entity legally entitled thereto.

7. Charges to Borrower and Protection of Lender's Rights in the Property, Borrower shall pay

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all governmental or municipal charges, fines and impositions that are not included in Paragraph 2. Borrower
shall pay these obligations on time directly to the entity which is owed the payment. If failure to pay would
adversely affect Lender's interest in the Property, upon Lender's request Borrower shall promptly furnish to
Lender receipts evidencing these payments.

If Borrower fails to make these payments or the payments required by Paragraph 2, or fails to
perform any other covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in bankruptcy,
for condemnation or to enforce laws or regulations), then Lender may do and pay whatever is necessary to
protect the value of the Property and Lender's rights in the Property, including payment of taxes, hazard
insurance and other items mentioned in Paragraph 2,

Any amounts disbursed by Lender under this Paragraph shall become an additional debt of
Borrower and be secured by this Security Instrument. These amounts shall bear interest from the date of
disbursement at the Note rate, and at the option of Lender shall be immediately due and payable.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender; (b) contests in good faith the lien by, or defends against enforcement of the lien in, legal proceedings
which in the Lender's opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of
the Hen an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
determines that any part of the Property is subject to a Jien which may attain priority over this Security
Instrument, Lender may give Borrower a notice identifying the lien. Borrower shall satisfy the lien or take
one or more of the actions set forth above within 10 days of the giving of notice.

8. Fees, Lender may collect fees and charges authorized by the Secretary.
9, Grounds for Acceleration of Debt.

(a) Default. Lender may, except as limited by regulations issued by the Secretary in the case of
payment defaults, require immediate payment in full of all sums secured by this Security
Instrument if:
(i) Borrower defaults by failing to pay in full any monthly payment required by this
Security Instrument prior to or on the due date of the next monthly payment, or
(ii) Borrower defaults by failing, for a period of thirty days, to perform any other
obligations contained in this Security Instrument.
(b) Sale Without Credit Approval. Lender shall, if permitted by applicable law (including
section 341(d) of the Garn-St Germain Depository Institutions Act of 1982, 12 U.S.C. 1701j-
3(d)) and with the prior approval of the Secretary, require immediate payment in full of all sums

secured by this Security Instrument ift
(i) All or part of the Property, or a beneficial interest in a trast owning all or part of the

Property, is sold or otherwise transferred (other than by devise or descent) and
(ii) The Property is not occupied by the purchaser or grantee as his or her principal
residence, or the purchaser or grantee does so occupy the Property but his or her credit has
not been approved in accordance with the requirements of the Secretary.
(c) No Waiver. If circumstances occur that would permit Lender to require immediate payment
in full, but Lender does not require such payments, Lender does not waive its rights with respect
to subsequent events.
(d) Regulations of HUD Secretary. In many circumstances regulations issued by the Secretary
will limit Lender's rights in the case of payment defaults, to require immediate payment in full
and foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure
if not permitted by regulations of the Secretary.
(e) Mortgage Not Insured. Borrower agrees that should this Security Instrument and the Note
are not to be eligible for insurance under the National Housing Act within 60 days from the date
hereof, Lender may, at its option, require immediate payment in full of all sums secured by this

=) 3705 Page 4 of 8 FHA Florida Mortgage - 03/09

 

 

 
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Security Instrument. A written statement of any authorized agent of the Secretary dated
subsequent to 60 days from the date hereof, declining to insure this Security Instrument and the
Note shall be deemed conclusive proof of such ineligibility. Notwithstanding the foregoing, this
option may not be exercised by Lender when the unavailability of insurance is solely due to
Lender's failure to remit a mortgage insurance premium to the Secretary.

10. Reinstatement. Borrower has a right to be reinstated if Lender has required immediate payment
in full because of Borrower's failure to pay an amount due under the Note or this Security Instrument. This
right applies even after foreclosure proceedings are instituted. To reinstate the Security Instrument, Borrower
shall tender in a lump sum all amounts required to bring Borrower's account current including, to the extent
they are obligations of Borrower under this Security Instrument, foreclosure costs and reasonable and
customary attorney's fees and expenses properly associated with the foreclosure proceeding. Upon
reinstatement by Borrower, this Security Instrument and the obligations that it secures shall remain in effect
as if Lender had not required immediate payment in full. However, Lender is not required to permit
reinstatement if: (i) Lender has accepted reinstatement after the commencement of foreclosure proceedings
within two years immediately preceding the commencement of a current foreclosure proceeding, (ii)
reinstatement will preclude foreclosure on different grounds in the future, or (iii) reinstatement will adversely
affect the priority of the lien created by this Security Instrument.

11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time of
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to any successor in interest of Borrower shall not operate to release the liability of the original Borrower or
Borrower's successor in interest. Lender shall not be required to commence proceedings against any
successor in interest or refuse to extend time for payment or otherwise modify amortization of the sums
secured by this Security Instrament by reason of any demand made by the original Borrower or Borrower's
successors in interest. Any forbearance by Lender in exercising any tight or remedy shall not be a waiver of
or preclude the exercise of any right or remedy.

12. Successors and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and
agreements of this Security Instrument shall bind and benefit the successors and assigns of Lender and
Borrower, subject to the provisions of Paragraph 9(b). Borrower's covenants and agreements shall be joint
and several. Any Borrower who co-signs this Security Instrument but does not execute the Note: (a) is co-
signing this Security Instrument only to mortgage, grant and convey that Borrower's interest in the Property
under the terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this
Security Instrument; and (c) agrees that Lender and any other Borrower may agree to extend, modify, forbear
or make any accommodations with regard to the terms of this Security Instrument or the Note without that
Borrower's consent.

13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method. The
notice shall be directed to the Property Address or any other address Borrower designates by notice to
Lender, Any notice to Lender shall be given by first class mail to Lender's address stated herein or any
address Lender designates by notice to Borrower. Any notice provided for in this Security Instrument shall be
deemed to have been given to Borrower or Lender when given as provided in this paragraph.

14. Governing Law; Severability. This Security Instrument shall be governed by Federal law and
the law of the jurisdiction in which the Property is located. In the event that any provision or clause of this
Security Instrument or the Note conflicts with applicable law, such conflict shall not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To this
end the provisions of this Security Instrument and the Note are declared to be severable.

15. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security
Instrument.

16. Hazardous Substances. Boxrower shall not cause or permit the presence, use, disposal, storage,

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or release of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to
do, anything affecting the Property that is in violation of any Environmental Law. The preceding twa
sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
Property.

Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge. If Borrower learns, or
is notified by any governmental or regulatory authority, that any removal or other remediation of any
Hazardous Substances affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law.

As used in this paragraph 16, "Hazardous Substances” are those substances defined as toxic or
hazardous substances by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials. As used in this paragraph 16 "Environmental
Law" means federal laws and laws of the jurisdiction where the Property is located that relate to health,
safety or environmental protection.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

17, Assignment of Rents, Borrower unconditionally assigns and transfers to Lender all the rents
and revenues of the Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues
and hereby directs each tenant of the Property to pay the rents to Lender or Lender's agents. However, prior
to Lender's notice to Borrower of Borrower's breach of any covenant or agreement in the Security
Instrument, Borrower shall collect and receive all rents and revenues of the Property as trustee for the benefit
of Lender and Borrower. This assignment of rents constitutes an absolute assignment and not an assignment
for additional security only. .

Upon default as provided in Paragraph 9(a), and upon written demand by Lender to Borrower: (a)
all rents received by Borrower shall be held by Borrower as trustee for benefit of Lender only, to be applied
to the sums secured by this Security Instrument; (b) Lender shall be entitled to collect and receive all of the
rents of the Property; and (c) each tenant of the Property shail pay all rents due and unpaid to Lender or
Lender's agent on Lender's written demand to the tenant,

Borrower has not executed any prior assignment of the rents and has not and will not perform any
act that wold prevent Lender from exercising its rights under this Paragraph 17,

Lender shall not be required to enter upon, take control of or maintain the Property before or after
giving notice of breach to Borrower. Any application of rents shall not cure or waive any defaultor invalidate
any other right or remedy of Lender. This assignment of rents of the Property shall terminate when the debt
secured by the Security Instrument is paid in full.

18. Foreclosure Procedure: If Lender requires immediate payment in full under paragraph 9,
Lender may foreclose this Security Instrument by judicial proceeding. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies in this paragraph 18, including, but not limited to, reasonable
attorneys’ fees and costs of title evidence.

If the Lender's interest in this Security Instrument is held by the Secretary and the Secretary requires
immediate payment in full under Paragraph 9, the Secretary may invoke the nonjudicial power of sale
provided in the Single Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C. 3751 et seq.) by
requesting a foreclosure commissioner designated under the Act to commence foreclosure and to sell the
Property as provided in the Act. Nothing in the preceding sentence shall deprive the Secretary of any rights
atherwise available to a Lender under this Paragraph 18 or applicable law.

19. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release
this Security Instrument without charge to Borrower, Borrower shall pay any recordations costs.

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20. Attorneys’ Fees. As used in this Security Instrument and the Note, "attorneys' fees" shall
include any attorneys’ fees awarded by an appellate court.

21, Riders to this Security Instrument. If one or more riders are executed by Borrower and
recorded together with this Security Instrument, the covenants and agreements of each such rider shall be
incorporated into and shall amend and supplement the covenants and agreements of this Security Instrument
as if the rider(s) were a part of this Security Instrument.

The Following Rider(s) are to be executed by Borrower and are attached hereto and made a part thereof
[check box as applicable]:

(3 Condominium Rider (1 Growing Equity Rider Di Adjustable Rate Rider
& Planned Unit Development Rider (1 Graduated Payment Rider
(7 Other(s) [specify]

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instruméat and in any rider(s) execyted by Borrower and recorded with it.

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NICOLE SPATCHER - DATE -

   

Borrower's Mailing Address: 7223 WHITE TRILLIUM CIRCLE, ORLANDO, FL 32818

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Signed, ti) vie elivered in the presence of

€> 370,5 Page 7 of 8 FHA Florida Mortgage - 03/09

 

 
 

Case 6:17-bk-05022-CCJ Doc94 _ Filed 05/08/19 Page 17 of 23

STATE OF FLORIDA

COUNTY OF ORANGE

The foregoing instrument was acknowledged before me this 5TH day of MARCH, 2010, by EARL
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Re le, MICHAEL USSERY
C% Notary Public - State of Florida

s My Comm. Expires Oct 9, 2013

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PLANNED UNIT DEVELOPMENT RIDER

SPATCHER

Loan} a
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THIS PLANNED UNIT DEVELOPMENT RIDER is made this 5TH day of MARCH,
2010, and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed
of Trust or Security Deed ("Security Instrument") of the same date given by the undersigned
("Borrower") to secure Borrower's Note ("Note") to FIDELITY FUNDING MORTGAGE CORP.
("Lender") of the same date and covering the Property described in the Security Instrament and
located at: 7223 WHITE TRILLIUM CIRCLE, ORLANDO, FL 32818 [Property Address].
The Property Address is a part of a planned unit development ("PUD") known as ENCLAVE AT
HIAWASSEE [Name of Planned Unit Development].

PUD COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. So long as the Owners Association (or equivalent entity holding title to
common areas and facilities), acting as trustee for the homeowners, maintains,
with a generally accepted insurance carrier, a "master" or “blanket" policy insuring
the property located in the PUD, including all improvements now existing or
hereafter erected on the mortgaged premises, and such policy is satisfactory to
Lender and provides insurance coverage in the amounts, for the periods, and
against the hazards Lender requires, including fire and other hazards included
within the term “extended coverage," and loss by flood, to the extent required by
the Secretary, then: (() Lender waives the provision in Paragraph 2 of this Security
Instrument for the monthly payment to Lender of one-twelfth of the yearly

=> 50.8 Page 1 of 2 FHA Multistate PUD Rider
6/96

 

 
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premium installments for hazard insurance on the Property, and (ii) Borrower's
obligation under Paragraph 4 of this Security Instrument to maintain hazard
insurance coverage on the Property is deemed satisfied to the extent that the
required coverage is provided by the Owners Association policy. Borrower shall
give Lender prompt notice of any lapse in required hazard insurance coverage and
of any loss occurring from a hazard, In the event of a distribution of hazard
insurance proceeds in lieu of restoration or repair following a loss to the Property
or to common areas and facilities of the PUD, any proceeds payable to Borrower
are hereby assigned and shall be paid to Lender for application to the sums secured
by this Security Instrument, with any excess paid to the entity legally entitled
thereto.

B. Borrower promises to pay all dues and assessments imposed pursuant to the
legal instruments creating and governing the PUD.

C, If Borrower does not pay PUD dues and assessments when due, then Lender
may pay them. Any amounts disbursed by Lender under this paragraph C shail
become additional debt of Borrower secured by the Security Instrument. Unless
Borrower and Lender agree to other terms of payment, these amounts shall bear
interest from the date of disbursement at the Note rate and shall be payable, with
interest, upon notice from Lender to Borrower requesting payment.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions

contained in t

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Page 2 of 2 FHA Multistate PUD Rider
6/96

 

 

 

 
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Case 6:17-bk-05022-CCJ Claim? Filed 10/26/17 Page 13 of 43

  

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FOR GOOD AND VALUABLE CONSIDERATION, ihe sulficlency of which ts harcby acknowledged. rho
undeslened MORTGAGE ELECPRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE FOR
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frerest secured thereby, all Hens, and ony rights due of to decorta duc (hereon © JPMORGAN CHASE BANK,
NATIONAL ASSOCIATION, WHOSE ADDRESS IS 700 KANSAS LANE, MC 9000, MONROE, LA
71203 (860)756-8747, ITS SUCCESSORS OR ASSIGNS, (ASSIGNES).,
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Records of the Clock of the Cirevit Court of ORANGE County, Florida, in Book 10014, Pape 6851, andar
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Fill in this information to identify your case:

 

 

 

Debtor 1 Earl Eugene Spatcher

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA, ORLANDO DIVISION

 

Case number 6:17-bk-05022

(if known)

 

(1 Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).

12/15

1. Do any creditors have claims secured by your property?

(1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

M@ Yes. Fill in all of the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

elmer List All Secured Claims
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Column A Column B Column ©
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor 's name. Do not deduct the that supports this portion
value of collateral. claim if any
m4 Chase Home Finance
TLE Describe the property that secures the claim: $121,810.67 $161,414.00 $0.00
Creditors Name 7223 White Trillium Cir, Orlando, FL
32818-1278
02-22-28-2431-00-
PO Box 24696 Propety ID# 2-28 43" 00 320
As of the date you file, the claim is: Check all that
Columbus, OH apply.
43224-0696 oO Contingent
Number, Street, City, State & Zip Code Oo Unliquidated
CO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 14 only Man agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
(1 bebtor 1 and Debtor 2 only | Statutory lien (such as tax lien, mechanic's lien)
(1 At least one of the debtors and another a Judgment lien from a lawsuit.
C1] check if this claim relates to a CI other (including a right to offset)
community debt
Date debt was incurred 03/05/2010 Last 4 digits of account number 1694
22 Enclave at Hiawassee
“ THOA Describe the property that secures the claim: $9,501.61 $161,414.00 $9,501.61
Creditors Name 7223 White Trillium Cir, Orlando, FL.
Associa/Community 32818-1278
Management Propety ID# 02-22-28-2431-00-320
Professiona As of the date you file, the claim is: Check all that
4700 Millenia Blvd Ste apply.
515 oO Contingent
Orlando, FL 32839-6102
Number, Street, City, State & Zip Code 0 unliquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Wi bebtor 1 only CI An agreement you made (such as mortgage or secured
|
OO Debtor 2 only car loan)
C1 Debtor 4 and Debtor 2 only IM Statutory tien (such as tax lien, mechanic's lien)
CD Atteast one of the debtors and another Oo Judgment lien from a lawsuit
0 Check if this claim relates to a UO other (including a right to offset)
community debt
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property nage { of 3

 

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Debtor 1 Earl Eugene Spatcher

Case number f know)

 

First Name

Date debt was Incurred

Middle Name

Last Name

Last 4 digits of account number

6:17-bk-05022

 

 

 

Portfolio Recovery

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

23 Associates LLC Describe the property that secures the claim: $4,767.73 $161,414.00 $4,767.73
Creditors Name 7223 White Trillium Cir, Orlando, FL
32818-1278
Propety ID# 02-22-28-2431-00-320
As of the date you file, the claim is: Check all that
PO Box 41067 apy * _—
Norfolk, VA 23541-1067 C1 Contingent
Number, Street, City, State & Zip Code | Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
Mi pebtor 4 only C1] An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only | Statutory lien (such as tax lien, mechanic's lien)
D1 Atteast one of the debtors and another | | Judgment lien from a lawsuit
C1 Check if this claim relates to a C] other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 8321
2A Santander Consumer
. USA Describe the property that secures the claim: $1 8,882.41 $7,481 00 $11 ,401.41
Creditors Name 2010 Dodge Ram Pickup 1500 SLT
2dr Regular Cab SB (4.7L 8cyl 5A)
PO Box 961248 VIN IDYRE1GP2AS162797
Fort Worth, TX apply.
76161-0244 CJ] contingent
Number, Street, City, State & Zip Code O Unliquidated
C] Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 1 only Ban agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only Ol Statutory lien (such as tax lien, mechanic's lien)
(CJ At least one of the debtors and another CO Judgment lien from a lawsuit
(] Check if this claim retates to a O other (including a right to offset)
community debt
Date debt was incurred 09/07/2012 Last 4 digits of account number 41000
[2.5 | US Department of HUD Describe the property that secures the claim: $42,920.15 $161,414.00 $3,316.82
Creditors Name 7223 White Trillium Cir, Orlando, FL
32818-1278
451 7th St SW Propety ID# 02-22-28-2431-00-320
: As of the date you file, the claim is: Check all that
Washington, DC apply.
20410-0001 © Contingent
Number, Street, City, State & Zip Code Oo Unliquidated
Cc Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Wi pebtor 4 only (1 An agreement you made (such as mortgage or secured
DC Debtor 2 only car loan)
(1 Debtor 1 and Debtor 2 only OO Statutory lien (such as tax lien, mechanic's lien)
[1] at ieast one of the debtors and another =O] Judgment Jien from a lawsuit
Official Form 106D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property page 2 of 3

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Debtor 1 Earl Eugene Spatcher Case number (f know) 6:17-bk-05022
First Name Middle Name Last Name
CJ Check if this claim relates to a Ml Other (including a right to offsety Second Mortgage
community debt
Date debt was incurred Last 4 digits of account number 0882
Add the dollar value of your entries in Column A on this page. Write that number here: $1 97,882.57
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $197,882.57

 

 

 

[EEA List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to coltect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property page 3 of 3

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